Case 2:01-CV-02934-.]DB-STA Document 76 Filed 04/18/05 Page 1 of 7 Page|D 115

 

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT 0F TENNESSEE 05 AFE i@ P¥‘Y 2‘ L*U
ROBERT L. GER\/Is "";°“'"" ‘ mm

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Plaintiff, Case No. 01-2934 B

VS.

SEARS, ROEBUCK AND CO.

Defendant

 

ORDER TAXING COSTS

 

Taxation of costs is governed by 28 U.S.C. § 1920, and the
costs taxable under this section “shall be allowed as of course to
the prevailing party unless the court otherwise directs” or unless
a statute or rule otherwise provides. Fed.R.Civ.P 54(d)(1). Sears,
Roebuck and Co., Defendant, was the prevailing party in this cause.
As such, Defendant did on April 6, 2005 file a cost bill totaling
$2,161.00 for court reporter fees and. the cost of deposition
transcriptions, and copy fees.

Notice was given to permit these parties opportunity to be
heard at a taxation hearing scheduled in Memphis, TN, on Friday,
April 15, 2005 at 10:15 a.m. regarding the assessment of costs
pursuant to Local Rule 54.1(b). Defendant's counsel attended the
scheduled hearing by telephone conference. Plaintiff appeared pro

Se.

Thfs document entered on the docket sheet in compliance

with Hule 55 and/or az(b) stch on ‘f 1305

 

Case 2:01-CV-02934-.]DB-STA Document 76 Filed 04/18/05 Page 2 of 7 Page|D 116

As a result of Defendant’s claim and based on matters
reflected in the file, costs are taxed against Plaintiff and in

favor of Defendant as follows:

CLAIM AWARD

Deposition costs $2,021.00 $1,933.50
Copy costs § 140.00 § *0-

TOTAL $2,161.00 $1,933.50

Deposition fees:

Title 28, Sections 1920(2) and (4) declare that the cost of
taking and transcribing depositions and transcripts, and the cost
of purchasing copies of depositions may be taxed if the depositions
were “necessarily obtained for use in the case.” Thus, if the
depositions are “reasonably necessary to the prosecution of the
action," and not "merely useful for discovery," the costs are
appropriately taxed. Ramos v. Lamm, 713 F.2d 546, 560 (lOth Cir.
1983); Sales v. Marshall, 873 F.2d 115, 120 (GthCir. 1989);
Independent Iron Works. Inc. v. U.S. Steel Corp., C.A. Cal. 1963,
322 F.2d 656, certiorari denied 84 S. Ct. 267, 375 U.S. 922.

A deposition does not have to be used as evidence to be taxed
as an expense. “When a deposition is not actually used at trial or
as evidence on some successful preliminary motion, whether its cost
may be taxed generally is determined by deciding if the deposition
reasonably seemed necessary at the time it was taken.” 10 Charles

Allen Wright et al, Federal Practice and Procedure: Civil 2d §2676,

Case 2:01-CV-02934-.]DB-STA Document 76 Filed 04/18/05 Page 3 of 7 Page|D 117

at 341(2d ed. 1983); see also Sales, 873 F.2D at 120 {“Necessity is
determined as of the time of taking, and the fact that a deposition

is not actually used at trial is not controlling.”), and Shanklin

 

v. Norfolk Southern Railwav Co., No. 94-1212 (W.D. Tenn. Sept. 9,
1996) relying on Hudson v. Nabisco Brands, Inc., 758 F.2d 1237,
1243 (7th Cir. 1985); In re Air Crash Disaster, 687 F.2d 626, 631
(2d Cir. 1982).

The determination of necessity must be made in light of the
facts known, at the time of the deposition, without regard to
intervening developments that later render the deposition unneeded
for further use. _§§ Wright et al., supra, §2676, at 341-44; ;gpgs
v. Lindbergh SCh. Dist., 12l F.3d 356, 363 {BEh Cir. 1997).

In support of this tax claim, Defendant’s bill includes copies
of the court reporters’ invoices detailing reporter fees and
deposition transcript charges incurred. Defendant’s claim is
allowed, save for the administrative costs (courier fee, overnight
delivery, binding and postage/handling charges) which are
classified as business costs and are therefore not taxable. The
administrative cost has been culled from the award.

Copy fees:

Where records or papers are copied by counsel for prevailing
party in preparation for trial, their costs may be recovered, even
though no trial is actually held, pursuant to 28 U.S.C. § 1920(4),
which provides that fees for exemplification and copies of papers

necessarily' obtained for~ use in case, may' be taxed. as costs.

Case 2:01-CV-02934-.]DB-STA Document 76 Filed 04/18/05 Page 4 of 7 Page|D 118

Meadows v. Ford Motor Co. {1973, WD Ky) 62 FRD 98, 5 BNA FEP Cas
665, on remand (WD Ky) 11 BNA FEP Cas 1047 and cert den 425 US 998,
48 L. Ed 2d 823, 96 S Ct 2215, l2 BNA FEP Cas 1335.

Defendant's reimbursement claim of copy costs ($140.00) is
denied due to insufficiency of the record to demonstrate these
costs as reasonably necessary to the case and not for the
convenience of counsel or the routine costs of doing business.
While the requested reimbursement ostensibly represents the costs
of photocopies made during the course of litigation, the general
summarization statement, “280 pages of pleadings and exhibits,”
provides insufficient detail about what was copied or how these
copies were used, denying Plaintiff the opportunity to protest the
award.

Taxable copy costs permitted under 28 U.S.C. § 1920
contemplate copies reasonably necessarily for use in the case, but
not for the convenience of attorneys. Independence Tube Corp. v.

Copperweld Corb.,D.C.Ill.1982, 543 F.Supp. 706. Because the

 

copying of papers is essentially undocumented in this cost bill,
the claim for the copying of papers is disallowed. Zapata Gulf
Marine Corp. V. Puerto Rico Maritime Shipping Authoritv, E. D. La.
l990, 133 F.R.D. 481.

TOTAL AWARD 51,933.50

Case 2:01-CV-02934-.]DB-STA Document 76 Filed 04/18/05 Page 5 of 7 Page|D 119

Pursuant to Fed.R.Civ.P. Rule 54(d), the taxation of costs by
the Clerk may be reviewed by the court upon motion, served within

5 days of the docketing of this order.

 

 

ROBERT R. DI TROLIO, CLERK

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504/599»8203 504/599-8263
April 13, 2005
m FACSIMILE AND U.s. MAIL

Mr. Ro'oert Di Trolio, Clerlc
United States Distriot Com“t
Wostern District of Tennessoo
242 Federal Buildjng

167 North Majn Street
Memphis, TN 38103

RE: Gervis v. Sears
Civil Action Gl-2934-B
U.S.D.C. - Wcstern District of Tennessee
Dear l\/Ir. Di Trolio:

As requested during the hearing on taxation of costs conducted on Friclay, April 15, 2005,
the following is an explanation of the copy charges listed on Sears' Bill of Costs:

We copied 280 pages of pleadings and exhibits in this matter. A copy was provided both
to the court and to Mr. Gervis, making the total 560 pages at a cost of .25 per page, or $140.

Please let me know if you need any timber information `

Thanl<; you for your assistance
Sincerely yours,
Leslie W. Ehret
LWE:ea
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ccc Mr. Robert L. Gervis, .Tr.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:01-CV-02934 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

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1\/lemphis7 TN 38103

Renee C. Gluth

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Honorable .1. Breen
US DISTRICT COURT

